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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT , Unted States Courts

Southern District of Texas
for the

 

 

 

FILED
Southern District of Texas February 12, 2020
United States of America ) David J. Bradley, Clerk of Court
V. )
Amari Mychael Singh, ) RaseilNG: 4 :20mj 0285
Date of Birth 12/1998
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 8, 2019 in the county of Harris County in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 USC § 2251 (a) Sexual exploitation of children.
18 USC § 2252A(a)(2)(B) Distribution of child pornography.

This criminal complaint is based on these facts:

See attached Affidavit of probable cause.

@ Continued on the attached sheet.

xT 7
/ a

v
Complainant’s signature

 

Patrick M. York, FBI Special Agent

 

Printed name and title

Sworn to before me and signed in my presence.
Date: L1t-tV AML
- 7 %

Judge’s signature

City and state: sete ' TH Andrew M. Edison, U.S. Magistrate Judge
vq |

Printed name and title
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AFFIDAVIT OF PROBABLE CAUSE

Your Affiant, Patrick M. York, being duly sworn, deposes and states the following:

1.

I am a Special Agent (SA) of the Federal Bureau of Investigation (FBI) currently
assigned to the Houston Division Texas City Residence Agency (TCRA)
investigating violent crime matters, which includes crimes against children. I have
been a Special Agent of the FBI since February 2009. While in the FBI, I have been
assigned to violent crime squads investigating and assisting with the investigations of
gangs, drugs, fugitives, crimes against children, and crimes in Indian Country, which
include sexual assaults, aggravated assaults, and homicides. Prior to the FBI, I was a
Texas Peace Officer for over twelve years.

This Affidavit is made in support of a criminal complaint charging Amari Mychael
SINGH (SINGH) with violating Title 18 U.S.C. § 2251(a) and (e), the sexual
exploitation of children and Title 18 U.S.C. § 2252A(a)(2)(B) and 2252A(b)(1), the
distribution of child pornography.

This Affidavit is being submitted for the limited purpose of securing a criminal
complaint, I have not included each and every fact known to me concerning this
investigation, I have set forth only those facts I believe are necessary to establish
probable cause that evidence of violation of Title 18 U.S.C. § 2251 (a) and (e), the
sexual exploitation of children occurred between the dates of on or about October 7,
2109 through on or about October 10, 2019; and evidence of violation of Title 18
U.S.C. § 2252A(a)(2)(B) and 2252A(b)(1), the distribution of child pornography,
occurred on or about October 8, 2019 and on or about October 10, 2019 and were
committed by Amari Mychael SINGH. Throughout this Affidavit, statements made
by sources of information and other witnesses are set forth in substance and in
pertinent part unless otherwise indicated. Further, the facts and circumstances of this
investigation have not been set forth in pertinent part for the purpose of this Affidavit
and do not include the complete factual history of this investigation, or all of its

details.

 

 
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Factual Basis to Support Criminal Complaint

On or about October 24, 2019, FBI Task Force Officer Aaron Arizmendi and A ffiant
attended a meeting with managers and probation officers of the Galveston County
Juvenile Detention Center in Texas City, Texas. During that meeting, the managers
informed the FBI that they believed multiple female juveniles that were previously in
custody or are currently still in custody, were being recruited by a 17 year old female
juvenile that was also in detention, to engage in prostitution when released from
detention. Additionally, it was believed the recruiter was working for a 20 year old
adult male identified as SINGH. The suspected juveniles were the subject of or
involved in multiple department reports from League City Police Department
(LCPD), Dickinson Police Department (DPD), and Kemah Police Department
(KPD).

One of the female juveniles, hereafter known as MV1 (Minor Victim 1), was
previously reported as a missing person/runaway to LCPD on October 14, 2019.
MVI1 was 15 years old at the time of the report. According to the LCPD report,
MV1’s mother was able to log into MVI1’s iCloud account and see among other
things, copies of text messages MV1 was communicating on her iPhone. Based on
the conversations, MV1 was suspected to be involved in prostitution. There were
conversations between MV1 and two customers, as well as, another person MV1
referred to as “daddy” and/or “HB”, who appeared to broker dates for MV1. There
were other topics of text conversations, including discussing negotiations for price
and time, MV1’s loyalty to “daddy”, and the collection of money with “daddy”. The
phone number for “daddy” was 346-288-1976. According to law enforcement
databases, the phone number is associated with the individual, Gregory Strickland.
According to reports, on or about October 16, 2019, LCPD detectives had located
MVI1 in Webster, Texas, and brought her to the LCPD where Detective Angie
Strachan interviewed MV1. During the interview, MV1 stated on approximately

Monday or Tuesday, October 7th or 8 of 2019, she went with SINGH to a Palace Inn

 

 
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on Bay Area Boulevard. There SINGH provided MV1 “bars”, commonly known as
Xanax, and they smoked marijuana. MV1 stated she passed out fully clothed, but
woke up to her pants unbuttoned and her shirt was partially off. MV1 stated she did
not remember what happened, but SINGH told her that they had “fucked”.

MVI1 told Detective Strachan that there is a video on her Snapchat of MV1 and
SINGH having sex. Detective Strachan recorded the video provided by MV1.
MVI1 stated SINGH had taken a video of their sexual encounter and posted the video
from his Snapchat and sent the video to MV1’s Snapchat. The female and male’s
faces were not seen on the video, however, MV1 identified herself and SINGH as the
two people in the video. MV1 also stated SINGH often posts videos on Snapchat of
him with guns and drugs. MV1’s Snapchat username is “lil.baby291”. SINGH’S
Snapchat username is “Amari212”.

On or about October 31, 2019, Detective Strachan provided the recording of the
Snapchat video of MV1 and SINGH having sex to the FBI. TFO Arizmendi and
Affiant viewed the recording. The recording showed what appeared to be a juvenile
female on her hands and knees with a male penetrating the juvenile female with his
penis from behind. The juvenile female had a blue colored top on.

On November 20, 2019, MV1 was re-interviewed by TFO Arizmendi and Affiant.
MV1 stated she knew SINGH previously from Snapchat. SINGH sent MV1 a text
letting her know he had a hotel room and “bars” if she wanted to join in. MVI1 stated
she joined SINGH at the hotel with a juvenile friend of hers. MV1 identified the
hotel on a map as the Hampton Inn located at 506 Bay Area Boulevard, Webster,
Harris County, Texas. When asked about the discrepancy in the name of the hotel in
the LCPD report, MV1 recalled wearing a blue shirt and hanging out and smoking by
the swimming pool on the north side of the Hampton Inn property. MV1 stated
SINGH would also often stay at the Palace Inn located at 1568 Live Oak Street,
Webster, Texas. MVI stated she saw the sex video on her Snapchat after it had

already been viewed and saved. She does not know who viewed or saved the video.

 
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According to MV1, SINGH was aware of their age difference and that MV1 was 15
years old.

MVI1 stated “HB” also showed up at the hotel. “HB” is also known as Homeboy.
MV1 does not know HB’s real name. MVI1 was shown a photo of Gregory
Strickland. MV1 identified the person in the photo as HB. MV1 stated HB had sex
with her juvenile friend the same time MV1 was having sex with SINGH.

On November 20, 2019, and again on December 3, 2019, TFO Arizmendi and Affiant
interviewed another female juvenile, hereafter known as MV2 (Minor Victim 2).
MV2 was also a reported runaway to LCPD in January 2019. In the LCPD report,
SINGH and his phone number 832-385-8476 are referenced in the report as an
investigative lead to the location of MV2. MV2 stated she first met SINGH through
a friend and had dated SINGH between October 9, 2018 to December 31, 2018. She
was 16 years old at the time. According to MV2, SINGH knew MV2 was 16 years
old because he saw her photo and missing person flyer that was in the media when she
ran away in January 2019. He also knew MV2 went to high school.

MV2 knew SINGH’S Snapchat username was Aarmi212. MV2 stated SINGH
would post women, guns, and drugs for sale on his Snapchat. MV2 specifically
recalled SINGH posting two girls from Louisiana and two other females for sale.
One post was a video taken inside a car belonging to one of the females, who was an
ex-girlfriend of SINGH. MV2 believed all these girls were over 18 years old. HB
had picked up the two girls from Louisiana and brought them to Houston. While on
the run in January 2019, MV2 remembers staying at a hotel in Houston with SINGH.
The two females from Louisiana and HB were also in the same hotel.

Besides herself, MV2 stated she is aware of two other female juveniles that SINGH
had sex with. MV2 identified MV1 as one of the two. The second female, hereafter
known as MV3 (Minor Victim 3) has not been fully identified at this point in the
investigation. MV2 stated MV3 is also on SINGH’s Snapchat having sex. MV2
and MV3 attended high school together.

 

 
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On December 5, 2019, two federal search warrants for the Snapchat accounts
“Amari212” and “lil.baby291” were issued in the Southern District of Texas by
United States Magistrate Judge Andrew M. Edison. The search warrants were
executed on December 6, 2019. On January 13, 2020, Affiant received an email
from Snapchat with a zip file containing materials requested in the search warrant for
account “Amari212”.

While reviewing the files for account “Amari212” provided by Snapchat, Affiant

discovered the following:

a. Within the zip file was the Snapchat Account Subscriber Information. The
subscriber ID was listed as  amari212, with email address
amarisingh28@gmail.com. The phone number associated with the account
was 832-385-8476. In the LCPD report regarding MV2, this phone number is
associated with SINGH.

b. Throughout the files, Affiant observes many selfie-type photos or videos of
SINGH, including a Chat Media of SINGH’s Texas Driver’s License.

c. In the Chat Media file, on October 8, 2019, MVI1 through her account
“Jil baby291,” sends a Chat Media to SINGH’s account “Amari212”. The Chat
Media file is a screen shot of a map for the Hampton Inn and Suites,
Houston/Clear Lake-Nasa area. Fifteen minutes later, MV1 sends SINGH chat
message asking, “U already at tha [sic] room?” SINGH replies, “Yes”. This is
the same Hampton Inn and Suites MV1 identified during her interview on

November 20, 2019, with Affiant and TFO Arizmendi.

d. Also within the zip file were three Chat Media files that are child pornography.
Two of the files are video files that appear to be the same video. The video file
was sent on October 8, 2019 from “Amari212” to “lil.baby291” and then again
the video file was sent on October 10, 2019 from “Amari212” to a Snapchat

account with username “that_onegurl”. The video is the same Det. Strachan

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provided to the FBI depicting MV1 and SINGH having sex. Additionally,
there is a still image taken from the same video file that was sent on October 10,
2019 from “Amari212” to “that_onegurl”. The image depicts MV1 with a blue
shirt, on her hands and knees, and with SINGH’s left hand on MV1’s bare lower
back.

e. Also in the zip files from Snapchat are several Chat Batched Media files that
contain several images of what appear to be narcotics, various firearms, and
large sums of cash. There are images of marijuana in various amounts ranging
from a handful to a vacuum sealed brick-paver sized bag. There are images of
Xanax, commonly known as “bars” in various colors and amounts ranging from
a small ziplock bag with a dozen or more to a bigger plastic bag with what
appears to be over a hundred “bars”. There is also a Snapchat with the image of
SINGH holding what appears to be a large clear plastic bag, almost as large as
his head, of marijuana. The caption on the Snapchat reads, “I ain’t gone be
pushing the narcotics for too much longer..” The images of firearms include
several different semi-automatic pistols, some with extended magazines, a

shotgun, a SKS or AK-47 type rifle, and what appears to be a Tech-9 pistol.

16. Based on my training and experience, the file sent by SINGH’s Chat Media account
and the file found on MVI1’s Snapchat meet the federal definition of child
pornography as defined by Title 18 U.S.C. § 2256.

Conclusion

17. Based on the information set forth above, your Affiant believes there is probable

cause to believe that between the dates of on or about October 7, 2019 through on or about

October 10, 2019, Amari Mychael SINGH was in violation of Title 18 U.S.C. § 2251(a)

and (e), the sexual exploitation of children. Furthermore, your Affiant believes there is

probable cause to believe on or about October 8, 2019 and on October 10, 2019, Amari

Mychael SINGH was in violation of Title 18 U.S.C. § 2252A(a)(2)(B) by distributing child

pornography.

 

 
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Patrick M. York
FBI Special Agent

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Subscribed and sworn to and before me this_/2 day of February, 2020, and I find

probable cause.
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Andrew M. Edison
United States Magistrate Judge

 

 
